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                 EXHIBIT 7
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 1   Jeffrey C. Block (pro hac vice)
     BLOCK & LEVITON LLP
 2   260 Franklin Street, Suite 1860
     Boston, MA 02110
 3
     (617) 398-5600 phone
 4   jeff@blockesq.com

 5   Co-Lead Counsel
 6
                             UNITED STATES DISTRICT COURT
 7
                          NORTHERN DISTRICT OF CALIFORNIA
 8

 9
                                              Master File No. 17-cv-06779-RS
10   IN RE TEZOS SECURITIES LITIGATION
                                              CLASS ACTION
11
     This document relates to:                DECLARATION OF JAMES TAYLOR-
12                                            COPELAND IN SUPPORT OF LEAD
            ALL ACTIONS.                      COUNSEL’S MOTION FOR AN
13                                            AWARD OF ATTORNEYS’ FEES AND
                                              LITIGATION EXPENSES AND
14                                            CHARGES
15                                            FILED ON BEHALF OF TAYLOR-
                                              COPELAND LAW
16
                                              Date:        August 27, 2020
17                                            Time:        1:30 p.m.
                                              Courtroom:   3, 17th floor
18                                            Judge:       Hon. Richard Seeborg
19

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     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF JAMES TAYLOR-COPELAND
                Case 3:17-cv-06779-RS Document 257-7 Filed 07/28/20 Page 3 of 10



 1           I, James Taylor-Copeland., pursuant to 28 U.S.C. § 1746, hereby declare as follows:

 2         1.           I am admitted to practice law before the courts of California and the United States

 3   District Court for the Northern District of California. I am the founding partner of the law firm

 4   Taylor-Copeland Law (“State Lead Counsel”), counsel of record for State Plaintiff Andrew

 5   Baker, along with the law firm of Robbins Geller Rudman & Dowd LLP. I respectfully submit

 6   this declaration in support of Lead Counsel’s Motion for an Award of Attorneys’ Fees and

 7   Reimbursement of Litigation Expenses.

 8         2.           I have personally participated in, overseen, and monitored the prosecution of the

 9   case captioned Baker v. Dynamic Ledger Solutions Inc. et al., Superior Court of California,
10   County of San Francisco, Case No. CGC-17562144 (“State Action”). Thus, if called upon, I can
11   testify to the matters set forth herein.
12         3.           As State Lead Counsel, my firm was involved in all aspects of the State Action
13   and its settlement as set forth in the Declaration of James Taylor-Copeland in Support of Lead
14   Plaintiff’s Motion for Final Approval of Class Action Settlement and Plan of Allocation.
15         4.           I billed the following aggregate hours to this matter as of the date of filing, with
16   fees applied at the firms current billing rates:
17                      Timekeeper            Type           Hours   Hourly Rate             Total

18
                James Taylor-Copeland           P            763.8      $775                     $591,945
19
                Total                                                                            $591,945
20

21           P = Partner; A = Associate; PL = Paralegal

22         5.           Taylor-Copeland Law directly seeks payment of the following expenses and

23   charges directly related to the litigation of the State Action (which have been summarized in

24   categories):

25                                              Category                           Expense

26
                          Filing Fees                                                $1,589.65
27
                          Travel (Flights, Lodging, Meals)                           $3,146.10
28

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     DECLARATION OF JAMES TAYLOR-COPELAND
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 1                    Total Expenses                                        $4,735.75

 2

 3
          6.        Attached as Exhibit A is a true and correct copy of Taylor-Copeland Law’s firm
 4
     resume.
 5
          7.        Attached as Exhibit B is a summary chart describing the work described in
 6
     Paragraph 4, above.
 7
            I declare under penalty of perjury that the foregoing is true and correct. Executed on this
 8
     27th day of July 2020, at San Diego, California .
 9
10
                                                         By: _______________________
11                                                       James Taylor-Copeland
                                                         Taylor-Copeland Law
12                                                       501 W. Broadway, Suite 800
                                                         San Diego, CA 92101
13                                                       (619) 734-8770 phone
                                                         james@taylorcopelandlaw.com
14                                                       State Lead Counsel and Counsel to
                                                         State Plaintiff Andrew Baker
15

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     DECLARATION OF JAMES TAYLOR-COPELAND
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                EXHIBIT A
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                                                                         501 W. Broadway Suite 800
Taylor-Copeland Law                                                          San Diego, CA 92101
                                                                                      (619) 734-8770
James Taylor-Copeland | 619 734 8770 | james@taylorcopelandlaw.com        www.taylorcopelandlaw.com




                                                 FIRM RESUME


   Taylor-Copeland Law was one of the first firms in the country to focus on blockchain and
   cryptocurrency litigation and is at the forefront of this rapidly developing area of law. It is
   focused on representing aggrieved investors and cryptocurrency users seeking to recover
   financial losses in what is often described as the “wild west.”

   The last three years have seen the explosive growth of blockchain technology and the value
   of cryptocurrencies. A blockchain is a decentralized digital ledger (such as Bitcoin or
   Ethereum) on which transactions (or other information) are recorded and added in
   chronological order. It allows participants to keep track of digital currency transactions
   (or information exchanges) without central record keeping. There are now hundreds of
   different cryptocurrencies worth more than $200 billion—up from just $20 billion three
   years ago. These currencies use encryption techniques to regulate the generation of units
   of currency and facilitate and verify the transfer of funds without the need for an
   intermediary, like a bank.
   Taking advantage of this rapid growth, many blockchain and cryptocurrency startups have
   attempted to skirt fundraising regulations by raising funds though initial coin offerings
   (ICOs). In an ICO, tokens are sold to consumers in exchange for legal tender or other
   cryptocurrencies (most often Bitcoin and Ethereum). These tokens generally give the
   purchaser various rights on the blockchain network and resemble the shares of a company
   sold to investors in an initial public offering. Unfortunately, these ICOs have become a
   magnet for unscrupulous practices and fraud.
   Taylor-Copeland Law focuses on helping aggrieved ICO investors, and in October 2017,
   Taylor-Copeland Law filed Baker v. Dynamic Ledger Solutions Inc., the first suit to allege
   that an ICO violated U.S. securities laws. Since then Taylor-Copeland Law has helped
   aggrieved ICO investors recover millions of dollars in confidential settlements and is
   currently prosecuting several additional securities class actions on behalf of aggrieved ICO
   investors.

                                             Professional Experience
   James Taylor-Copeland began his legal career working in the litigation and dispute
                                                            1
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resolution department of the large international firm Clifford Chance US LLP in
Washington, D.C. James’ practice as a litigator involved all aspects of civil litigation,
including significant experience with multi-district litigation and cross-border issues. In
2015, James left Clifford Chance US LLP and joined Mintz Levin Cohn Ferris Glovsky
and Popeo PC in San Diego, California, where he was a member of the firm’s Institutional
Investor Class Action Recovery group. In 2017, James founded Taylor-Copeland Law to
focus on blockchain and cryptocurrency litigation.

                                      Bar Admissions
California, U.S. District Court, Northern District of California, U.S. District Court, Central
District of California, U.S. District Court, Southern District of California, U.S. District
Court, Eastern District of California.
                                         Education
James obtained his Juris Doctorate from Georgetown University Law Center and an
undergraduate degree in economics from Indiana University.

                            REPRESENTATIVE MATTERS

In re Ripple Labs, Inc. Litigation.
U.S. Dist. Ct. – Northern District of California – Case No. 4:18-cv-06753
•      Appointed co-lead counsel in securities class action alleging that Ripple Labs and
       its subsidiary XRP II violated state and federal securities laws by selling
       unregistered XRP token securities
•      Obtained favorable ruling on Defendants’ Motion to Dismiss allowing most claims
       to proceed

John Hastings v. Unikrn, Inc., et al.
Washington Superior Court – King County – Case No. 18-2-20303-6
•     Securities class action alleging that Unikrn, Inc. violated the registration provisions
      of the Securities Act by offering unregistered UKG securities to the general public
•     Defeated defendants’ motion to compel arbitration in decision affirmed by the
      Court of Appeals

Jacob Zowie Thomas Rensel et. al. v. Centra Tech, Inc., et al.
U.S. Dist. Ct. – Southern District of Florida – Case No. 1:17-cv-24500
•     Appointed co-lead counsel in class action alleging that defendants violated the
      registration provisions of the Securities Act through the unregistered offer and sale
      of CTR Tokens to the general public
•     Obtained $3.1 million default judgment against defendant Centra Tech on behalf of
                                              2
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      the largest investor in the Centra ICO

Tezos ICO Cases: Baker v. Dynamic Ledger Solutions, Inc. et al.
California Superior Court – County of San Francisco – Case No. CGC-17562144
•     First case alleging that sale of pre-functional digital tokens through an initial coin
      offering (ICO) violated U.S. securities laws

Kevin Ogar v. OC Throwdown, et al.
California Superior Court – County of Orange – Case No. 30-2016-00828804
   • Obtained $22.3 million judgment on behalf of plaintiff who was permanently
      paralyzed at a fitness and weightlifting competition

MediVas LLC, et al. v. Marubeni Corporation
California Superior Court – County of San Diego – Case No. 37-2010-00090830
   • Negotiated favorable settlement for Marubeni Corporation mid-way through a two-
      week jury trial in case involving hundred million dollar claims and multi-million-
      dollar cross-claims

CrossFit, Inc. v. National Strength and Conditioning Association
U.S. Dist. Ct. – Southern District of California – Case No. 14-cv-1911
•     Obtained favorable summary judgment ruling in Lanham Act action arising from
      manipulation of data in an article published in competitor’s scientific journal
•     Obtained significant monetary and evidentiary sanctions against defendant based
      on discovery abuses

Tatung Company, Ltd. v. Shu Tze Hsu, et al.
U.S. Dist. Ct. – Central District of California – Case No. SACV13-01743
   • Obtained favorable summary judgment ruling and negotiated favorable settlement
      for client in civil RICO action arising out of a complex scheme to conceal assets




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                EXHIBIT B
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                                                                               In re Tezos Securities Litigation
                                                                                   Time and Billing by Category
                                                                                 Inception through July 24, 2020
                                                                                   TAYLOR-COPELAND LAW
Timekeeper                   Position              A          B         C          D          E           F          G          H          I          J       Total       Hourly Rate Lodestar
James Taylor-Copeland        Partner                 162.3       8.5       39.3       30.8       20.8       270.0       64.8      113.5       39.3       14.8       763.8 $       775 $ 591,945
Grand Total                                          162.3       8.5       39.3       30.8       20.8       270.0       64.8      113.5       39.3       14.8       763.8 $    775.00 $ 591,945
 % of Total Hours                                   21.2%      1.1%       5.1%       4.0%       2.7%       35.3%       8.5%      14.9%       5.1%       1.9%
 Lodestar                                     $   125,744 $   6,588 $   30,419 $   23,831 $   16,081 $   209,250 $   50,181 $   87,963 $   30,419 $   11,470 $ 591,945
 % of Lodestar                                      21.2%      1.1%       5.1%       4.0%       2.7%       35.3%       8.5%      14.9%       5.1%       1.9%


                         Category Key
 A = Investigation, Research, Complaints
 B = TRO / Preliminary Injunction / Service
 C = Leadership / Intervention Motions
 D = Case Management, Client Updates
 E = Ongoing Research
 F = Non-Discovery Motions and Briefing
 G = Discovery Negotiations, Disputes, Briefing
 H = Discovery / Document Review
 I = Settlement Negotiations
 J = Settlement Approval, Class Member Communications
